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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION


THOMAS ROSSLEY, JR.                                    Civ. No. 4:16-cv-00623-RGE-SBJ

        Plaintiff,
                                                   PLAINTIFF’S RESISTANCE TO
vs.                                                DEFENDANTS’ MOTION FOR
                                                   A PRELIMINARY RULING ON
DRAKE UNIVERSITY, DRAKE                            ADMISSIBILITY OF EVIDENCE
UNIVERSITY BOARD OF TRUSTEES,

        Defendants.


        Plaintiff Thomas Rossley Jr. (“Plaintiff”), by and through his undersigned counsel,

hereby opposes Defendants’ motion for a preliminary ruling on the admissibility of evidence.

Plaintiff, in support this Resistance, states:

        1.      Plaintiff intends to offer evidence to prove, among other things, that the university

disciplinary decision for sexual misconduct resulting in Plaintiff’s expulsion was, in violation of

Title IX, an “erroneous outcome” motivated by gender bias and a penalty of undue severity due

to gender bias; and as part of that proof, Plaintiff will offer proof that he did not engage in any

sexual misconduct at all with Jane Doe. This is a “the alleged sexual misconduct did not happen

at all” case, not a “consent or no consent to the sex that occurred” case.

        2.      Accordingly, it is unfair that Defendants do not provide the Court with the factual

context of the objected to evidence; that evidence is highly relevant because it helps prove the

alleged sexual misconduct did not occur at all and shows why the objected to evidence is

certainly not character assassination and certainly not slut shaming. As pleaded in the Amended

Complaint, as testified to by Plaintiff on questioning by Defendants’ counsel and as admitted to

by Jane Doe at the disciplinary hearing, on the night of October 8, 2016 and morning of October

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9, 2016, Plaintiff and Jane Doe consumed a significant amount of alcoholic beverages and then

went to Plaintiff’s parked car where Jane Doe initiated oral sex on Plaintiff, which activity

stopped because Plaintiff could not maintain an erection. (Ex. A: Pl. Dep. 87, 105, 110-111; Ex.

B: Am.Cmplt. ¶¶ 81-87; Ex. C: Hearing Tr. 23-29.) The two then went to Plaintiff’s fraternity

house; Plaintiff said he did not have sexual intercourse with Jane Doe, only that she was standing

next to his bed where he was in bed fully clothed when Jane Doe told him she was leaving (he

woke up in his bed fully clothed and his roommate in the room did not see any sexual assault),

whereas Jane Doe said that she ran into the fraternity (which was not possible, as entrance

required a security code) and that she recalled next being in Plaintiff’s room on a bean bag with

her pants pulled down, Plaintiff having a condom on (despite Plaintiff’s inability to maintain an

erection) and telling Plaintiff to stop, which he did. (Ex. A: Pl. Dep. 87, 111; Ex. B: Am. Cmplt.

¶¶ 87-90, 156; Ex. C: Hearing Tr. 31-32.) Jane Doe then went to the fraternity Annex across the

street to another fraternity member’s room who kicked her out and then to another fraternity

member’s room, stayed there the rest of the night and performed oral sex on that fraternity

member; at some point while in the fraternity Annex, Jane Doe texted Plaintiff that she had

arrived home safely and “all good, babe.” (Ex. A: Pl. Dep. 116-118; Ex. B: Am. Cmplt. ¶¶ 91-

94; Ex. C: Hearing Tr. 34.) Jane Doe never got a medical examination afterward, and there was

no physical evidence supporting a sexual assault. (Ex. B: Am. Cmplt. ¶¶ 97, 146-150.)

       3.      Federal Rules of Evidence 403 and 412 do not apply to exclude what Jane Doe

did after leaving Plaintiff that night, as that behavior is wholly inconsistent with Jane Doe having

had non-consensual sexual intercourse with Plaintiff. Defendants never quote the text of Federal

Rules of Evidence 403 and 412, and the text of these Rules points to their non-applicability and

to the admissibility of the objected to evidence. The objected to evidence is not being offered “to



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prove that a victim engaged in other sexual behavior” or “to prove a victim’s sexual

predisposition” per Federal Rule of Evidence 412(a). The applicable Eighth Circuit case law

fully supports the admission of the objected to evidence: Warren v. Prejean, 301 F.3d 893, 906

(8th Cir. 2002); Wilson v. City of Des Moines, 442 F.3d 637, 442-444 (8th Cir. 2006); Beard v.

Flying J, Inc., 266 F.3d 792, 801-802 (8th Cir. 2001). Defendants’ reliance on inapposite

criminal cases shows the defectiveness of their legal position: Plaintiff is a not a criminal

defendant seeking to prove consent on the part of an alleged victim to the sex that occurred, but a

Title IX civil plaintiff seeking to prove that the alleged sexual assault did not occur at all, and

Federal Rule of Evidence 412(b) has different provisions for criminal and civil cases.

       4.        A preliminary ruling is not necessary for Defendants to present an expert report

and proposed expert testimony on whatever subjects Defendants believe appropriate for expert

testimony. According to the percipient witnesses at the time, Jane Doe certainly did not suffer

from “a victim’s post-trauma conduct.” Defendants apparently seek to rewrite the facts and

present the matter falsely with dubious expert testimony.

       5.       Plaintiff, with this Resistance, have filed a Memorandum of Law in support of

Plaintiff’s Resistance to Defendants’ motion for a preliminary ruling, along with excerpts of

Plaintiff’s deposition as Exhibit A, the Complaint as Exhibit B and excerpts from the disciplinary

hearing transcript as Exhibit C.

       WHEREFORE, Plaintiff requests that this Honorable Court deny Defendants’ motion for

a preliminary ruling on admissibility of evidence and order such further and other relief as the

Court deems just and proper.

Dated: April 3, 2018




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                             Respectfully submitted,

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                             ATTORNEYS FOR PLAINTIFF




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                                 CERTIFICATE Of SERVICE

       I hereby certify that on April 3, 2018, a copy of the foregoing was filed electronically

with this Court. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing

through the Court’s system.

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